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IN CLERKS OFFICE

IN THE UNITED STATES DISTRICT COURT U.S. DISTRICT COURT E.D.NLY.

FOR THE EASTERN DISTRICT OF NEW YORK te

JEFFS. ROTH

-against-

FARMINGDALE UNION FREE SCHOOL DISTRICT

MAR 29 2004

LONG ISLAND OFFICE

Complaint for a Civil Case

Case No.

Jury Trial: Yes

cy 24 2418
KOVNER, J

LINDSAY, M.J.

L The Parties to This Complaint
A. The Plaintiff

Jeff S. Roth

20 Frank Avenue
Farmingdale, Nassau County
New York, 11735
516-420-3451

B. The Defendants

Farmingdale U.S.F.D.

50 Van Cott Avenue
Farmingdale, Nassau County
New York, 11735
516-434-5100

ll. Basis for Jurisdiction

A. A federal question on the United States Constitutional Rights
Freedom of Speech and Right to Access

B. This Court has subject matter jurisdiction over this action pursuant to
28 U.S.C § 1331, 1343, and 1346, as this action challengers Defendants’ violation
of Plaintiffs’ civil rights pursuant to 42 U.S.C § 1983.

C. A federal question of a violation of the Americans with Disabilities Act of 1990,
42 U.S.C. § 12101. Subchapter III section 12181, Public Accommodations and
Services by Private Entities

I. Statement of Claim

1. On March 5, 2024, a letter was taped to my door informing me | was prohibited
from district property until June 2024.

2. This “Suspension” is for the reason the Board of Education did not want me to speak
at the following March 6, 2024 meeting nor the upcoming budget meetings before
the May 2024 vote.

3. This is the third time due to this district’s unconstitutional “Prohibitions” that | have
filed a complaint with this court. The past two complaints were dismissed on
technicalities.

4. Itis due to the intentional infliction of emotional distress and this board of
education’s smear campaign | was declared disabled as a result of long-term stress

exposure. | was diagnosed with PTSD suffering from debilitating panic anxiety
attacks due to over a decade of harassment and violations of my civil rights.

5, The debilitating panic anxiety attacks started on or about 2013 when | was informed
via affidavit that the board of education initiated a “Joint investigation” into my
background with the Nassau County Police Department and the FBI. The board of
education claimed | was a security threat even though | was advocating for security
improvements since 2000 when the SAVE Act was passed.

6. Ihave requested the court in the past to assign counsel since | was not represented
on the first complaint and not properly represented by a pro-bono attorney on the
second. Both complaints were dismissed on technicalities.

7. The second complaint which was dismissed for allegedly being “Moot” the pro-bono
attorney abandoned and “Quietly Quit” the case midway through. The attorney did
not respond properly since the argument that the complaint was “Moot” was
incorrect and new evidence was to be submitted.

8. |have requested for both complaints to be brought before a Magistrate of to utilize
the Mediation Advocacy Program where the counsel representing the Farmingdale
Board of Education refused mediation.

9. Within the March 5, 2024, the board of education has become even more brazen
since “winning” the two previous complaints on technicalities. This is the first-time
wording relating to my right to vote on district property has been included in the
“Suspension”. It also the first time the letter was not signed by all the board
members nor delivered certified mail.

10. If this matter is not properly mediated or decided through a Jury trial then it will
keep repeating as with this new March 5, 2024 “Prohibition”. The court should
understand the seriousness of this matter, take into consideration all the
information which was submitted in the past, the lack of representation was not
submitted including new pertinent evidence, and lastly now rises to the level of
discrimination against a person with a disability.

IV. Relief

WHEREFORE, Plaintiff requests that judgement be entered in his favor and against
Defendants as follows:

1. An award of damages to Plaintiff in the amount of Ten Million Dollars.

2. Cost of suit, including attorney fees and costs pursuant to 42 U.S.C § 1988.

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Vv. Certificate and Closing
A. For Parties Without an Attorney

| agree to provide the Clerk’s Office with any changes to my address where case-related
papers may be served. | understand that my failure to keep a current address on file
with the Clerk’s Office may result in the dismissal of my case.

+
Signature of Plaintiff tke Date of Signing /Upfcy Lf 284

Printed Name of Plaintiff SES. RoTH

NASSAU COUNTY POLICE DEPARTMENT

CASE REPORT
Case Folder Number: 2024CR321415

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CASE DATA
Reported As: SUSPOCC - Suspicious Occurrence
Reporting Officer: 10824 - Coleman, Brian H Command: 008
Reported On: 03/06/2024 @ 1949 Reporting Agency: NASSAU COUNTY POLICE DEPARTMENT
Occurred On: 03/06/2024 @ 1945 (Wednesday)

Incident Location: Detective Assigned:
70 VAN COTT AVE
Farmingdale, NY

Precinct of Incident: 8th Precinct Post of Incident: 810

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Offense: Z - UNUSUAL/SUSPICIOUS INCIDENT Class: Category:
Location Type:

[SUSPECT(S) oe - oo |
Name: Roth, Jeffrey Scott DOB: 05/11/1974 Age: 52
Sex: Male Race: White Ethnicity: Non Hispanic or Latino

Contact Information
Address
Home: 5 4th Ave SOUTH FARMINGDALE, NY 11735
Home: 20 FRANK AVE SOUTH FARMINGDALE, NY 11735
Phone
Mobile: (631) 252-2154
Mobile: (516) 420-3451

Physical Characteristics

Eye Color: Blue Complexion: Light

Hair Color: Brown Teeth:

Hair Style: Bald/Balding Facial Hair: Full Beard and Mustache
Hair Length: Long Height: 5' 8"

Build: Medium Weight: 160

Clothing: gray hat, maroon shirt, blue jeans, tan boots.

(VICTIMS) : en i ql
Name: WELDON E HOWINTT JR HIGH SCHOOL
Victim Type: Business
Victim Of: 1.Z-UNUSUAL/SUSPICIOUS INCIDENT -

Contact Information
Address
School: 70 VAN COTT AVE Farmingdale, NY 11735
Phone
Other: (516) 434-5410

NARRATIVE

Suspect ROTH, JEFFREY SCOTT (DOB: 05/11/1971) did enter the Weldon E. Howitt JR Highschool property and building. On 03/05/2024, suspect was
notified by the school district that he is prohibited from entering the buildings and grounds of the Farmingdale Union Free School District. School security
requested the suspect be removed from the property. Officers advised the suspect that he needed to leave immediately, and the suspect did exit the
property without incident. Suspect does not have an active order of protection against him from the Farmingdale Union Free Schoo! District. Suspect was
run in edustice and PremierOne for wants, warrants, and orders with negative results. Sgt. Reitan on scene.

RMP 810

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